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Document #1567954

USCA Case #15-1219

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

UTILITY SOLID WASTE ACTIVITIES, _ )
et al., )
Petitioner, )
)
)

Docket No. 15-1219
(consolidated)

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY,

Nee Nee” ee ee” ee”

Respondent.

BENEFICIAL REUSE MANAGEMENT’S STATEMENT OF ISSUES TO
BE RAISED AND CERTIFICATE AS TO PARTIES, RULINGS AND
RELATED CASES

Pursuant to this Court’s Order of July 17, 2015, Beneficial Reuse
Management (“Petitioner”) submits the following statement of issues with respect
to Respondent’s — the U.S. Environmental Protection Agency (“EPA”) — final rule
under the Resource Conservation and Recovery Act (“RCRA” or the “Act”)
published at 80 Fed. Reg. 21302 (April 17, 2015) (to be codified at 40 C.F.R. §§
257 and 261) entitled “Hazardous and Solid Waste Management System; Disposal
of Coal Combustion Residuals from Electric Utilities.”

I. Statement of Issues to be Raised by Beneficial Reuse Management

A. | Whether EPA’s requirement, under subparagraph 4 of the definition

of “Beneficial use of CCR” in 40 C.F.R. § 257.53, that when
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unencapsulated use of CCR involves placement on the land of 12,400
tons Or more in non-roadway applications, the user must document
and demonstrate that environmental releases are comparable or lower
than those from analogous non-CCR products, or that environmental
releases are at or below regulatory and health-based benchmarks, is
arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law, including:

l. Whether EPA’s arrival at a 12,400 ton threshold, based upon its
reliance on clear and critical data entry mistakes, was arbitrary,
capricious, an abuse of discretion or otherwise not in
accordance with the law.

2, Whether EPA’s failure to provide notice and the opportunity for
public comment on the above requirement, pursuant to 5 U.S.C.
§ 553, is arbitrary, capricious, an abuse of discretion or
otherwise not in accordance with law.

While Petitioner has used its best effort to identify all of the issues which it

intends to raise on appeal, Petitioner reserves the right to raise additional issues in

its brief if further review of the record indicates that this is warranted.

Il. Certificate as to Parties, Rulings and Related Cases

A.

Parties and Amici: Case No. 15-1221 includes the following parties:
Petitioner, Beneficial Reuse Management, and respondent, EPA.
Case No. 15-1221, by Order of this Court, has been consolidated with

a number of cases in consolidated Case No. 15-1219. The following
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parties are also included in the consolidated case: Utility Solid Waste
Activities Group; Edison Electric Institute; National Rural Electric
Cooperative Association; American Public Power Association;
Lafarge North America; Associated Electric Cooperative, Inc.; City of
Springfield, Missouri through the Board of Public Utilities; Clean
Water Action; Environmental Integrity Project; Hoosier
Environmental Council; PennEnvironment; Prairie Rivers Network;
Sierra Club; Tennessee Clean Water Network; Waterkeeper Alliance;

AES Puerto Rico.

Rulings Under Review: Petitioner seeks review of elements of the
final rule of the EPA under RCRA published at 80 Fed. Reg. 21302
(April 17, 2015) (to be codified at 40 C.F.R. §§ 257 and 261) entitled
“Hazardous and Solid Waste Management System; Disposal of Coal

Combustion Residuals from Electric Utilities.”

Related Cases: This case was not previously before this Court or any
other court. The following six related cases are pending before this
Court: Utility Solid Waste Activities v. Environmental Protection
Agency, 15-1219; Lafarge North America, Inc., et al. v.

Environmental Protection Agency, 15-1222; Associated Electric
Cooperative, Inc. v. Environmental Protection Agency, 15-1223; City
of Springfield, Missouri, through the Board of Public Utilities v.
Environmental Protection Agency, 15-1227; Clean Water Action, et
al. v. Environmental Protection Agency, 15-1228; AES Puerto Rico,
LP vy. Environmental Protection Agency, 15-1229. Petitioner
understands that each of these cases seeks review of the same final
rule, or portions thereof, challenged in this case. By Order issued July
17, 2015, this Court consolidated this case and these six cases under
the lead docket No. 15-1219, Utility Solid Waste Activities, et al. v.

Environmental Protection Agency.

D. Other Attachments: The Docketing Statement by Petitioner is

attached.
Dated: August 14 , 2015 Respectfully submitted,
BENEFICIAL REUSE
MANAGEMENT

” Og 42

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CERTIFICATE OF SERVICE

On this 14" day of August, I served a copy of the foregoing Statement of
Issues to be Raised and Certificate as to Parties, Rulings and Related Cases upon
all parties by electronic service via the CM/ECF system. The document was filed
electronically, generating a Notice of Electronic Filing.

OL BPE.

Aoshua R. More

